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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


ROLANDO PENATE,                                   )
          Plaintiff                               )
                                                  )
V.                                                )        Civil Action No. 17-30119-KAR
                                                  )
ANNE KACZMAREK, et al.                            )
          Defendants                              )


           DEFENDANT ROBERT IRWIN’S MEMORANDUM OF LAW IN SUPPORT
                          OF HIS MOTION TO DISMISS
I.      INTRODUCTION

        Plaintiff Rolando Penate (“Penate”) seeks to hold Defendant Robert Irwin (“Det. Lt.

Irwin”) a former Detective Lieutenant of the Massachusetts State Police (“MSP”) 1 ,

responsible as one of the seventeen (17) defendants named who are alleged to have played

a role in what Penate refers to as “overlapping conspiracies to suppress highly exculpatory

evidence.” Complaint, p. 1.

        Penate brings two counts against Det. Lt. Irwin. His first claim is brought pursuant to

42 U.S.C. § 1983. See Id. Count III, p. 48. Penate alleges that Det. Lt. Irwin acted in concert

with Defendants Joseph Ballou (“Sgt. Ballou”), a sergeant with the MSP, and Randy Thomas

(Trooper Thomas”), a trooper with the MSP to violate his constitutional right to due process.

Id. ¶¶ 418-427. Specifically, Penate claims that they “intentionally, recklessly, and/or with

deliberate indifference to their legal obligations, concealed Brady material, lied about, and

otherwise failed to disclose Brady material…” to Hampden County Assistant District

Attorneys (“ADA”) in general as well as the Hampden County ADA prosecuting Penate. Id.


1Det. Lt. Irwin was promoted to the rank of Major in April of 2016. For purposes of consistency with the facts
alleged in Penate’s Complaint, he will be referred to as Det. Lt. Irwin throughout this motion.

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Penate’s second claim against Det. Lt. Irwin which includes all other defendants being sued

individually is a state law claim alleging intentional infliction of emotional distress. See Id.

Count VIII, p. 56.

       In making his claims against Det. Lt. Irwin, Penate has cast a wide net that fails to

account for individual actions and instead lumps the collective behavior of all named

defendants together in the hopes of stating a viable claim. The Complaint contains a fact

pattern encompassing three hundred seventy-five (375) paragraphs of allegations spanning

over a period of thirty (30) years. See generally Complaint. Penate’s allegations against Det.

Lt. Irwin, however, are limited to a short span of time beginning in January, 2013, when the

MSP were assigned to investigate suspected criminal conduct on the part of Amherst Drug

Lab Chemist Sonja Farak (“Farak”). Complaint ¶ 191.

       The investigation included a search of Farak’s vehicle. Id. ¶¶ 197-199. Det. Lt. Irwin

participated in that search.      Id. ¶¶ 197-199. The search revealed a collection of

approximately 300 pages of documents which included the alleged exculpatory evidence

relative to Penate’s claims here. ¶ 201. Evidenced by the facts alleged by Penate that

followed the search, once the documents were seized, disclosed and delivered to the proper

governmental entities, Det. Lt. Irwin’s involvement in the matter essentially ended. Any

further allegations of misconduct by Det. Lt. Irwin are in the form of conclusory allegations

that simply do not rise to the level of the constitutional deprivations claimed by Penate in

this case.

       For these reasons and those stated below, Det. Lt. Irwin respectfully moves that this

Honorable Court dismissed Counts III and VIII brought against him pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.


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II.    FACTS

       Taking all well pleaded facts as alleged in Penate’s complaint as true, the facts are as

follows:

       On November 16, 2011, Penate was arraigned in Springfield District Court on charges

stemming from his alleged sale of narcotics to an undercover Springfield, Massachusetts

police officer on three (3) separate occasions. Complaint ¶¶ 110-125. He entered a plea of

not guilty. Id. ¶ 125. Det. Lt. Irwin had no involvement in Penate’s arrest. See Id. ¶ 110-124.

       The narcotics allegedly sold by Penate to the Springfield police officer were delivered

to the Amherst Drug Lab for testing the same day of Penate’s arraignment. Id. ¶ 127. Farak,

a chemist working in the Amherst Drug Lab, was assigned to test all the narcotic samples

that Penate allegedly sold to the undercover Springfield police officer. Id. ¶ 135. Farak

purportedly tested the samples related to Penate’s case on December 22, 2011, January 6,

2012, and January 9, 2012. Id. ¶ 142. The tests on each sample purportedly came back

positive for the presence of a controlled substance.        Id. ¶ 143.    Farak signed drug

certifications confirming the findings. Id. ¶ 161. Det. Lt. Irwin had no involvement in the

testing or certification of the samples delivered to the Amherst Drug Lab in regard to

Penate’s criminal case. See Id. ¶ 135-151.

       Penate’s case was presented to the Grand Jury by the Hampden County District

Attorney’s Office on February 1, 2012. Id. ¶ 160. Copies of the drug certificates signed by

Farak at the time of testing were presented to the Grand Jury. Id. ¶ 161. The Grand Jury

returned a 13 Count indictment against Penate. Id. ¶ 162. Penate was arraigned in Superior

Court on February 10, 2012, and entered a plea of not guilty. Id. ¶ 163. Det. Lt. Irwin had no

involvement in Penate’s indictment or arraignment. See Id. ¶ 152-164.


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       In January 2013, suspicions were raised as to the possibility that Farak was

mishandling narcotics delivered to her at the Amherst Drug Lab for testing. Id. ¶¶ 184-189.

This suspicion led to a Massachusetts State Police investigation. Id. ¶¶ 184-196. Det. Lt.

Irwin had no involvement in the events occurring at the Amherst Drug Lab leading up to the

initiation of the investigation. Id. ¶¶ 171-190.

       On January 19, 2013, after having interviewed Farak regarding evidence suggesting

she had been mishandling narcotic samples, MSP Sgt. Ballou and MSP Trooper Thomas,

applied for and were granted an application to search Farak’s vehicle. Id. ¶¶ 5, 7 and 197.

That same day, Trooper Thomas and Sgt. Ballou along with Det. Lt. Irwin performed the

search. Id. ¶ 200. The search revealed “approximately 300 pages of paper” which included

a “ServiceNet Diary Card” in which Farak memorialized her use of narcotics at the Amherst

Lab. Id. ¶ 145, 201. The information contained on the diary card is alleged to have indicated

that Farak had been using narcotics at the Amherst Lab on December 22, 2011, and January

9, 2012, both days in which she tested the samples from Penate’s criminal case. Id. ¶¶ 146,

148.

       Sgt. Ballou turned over the approximately 300 pages of documentation seized from

Farak’s vehicle to the Springfield Attorney General’s Office (“AGO”). Id. ¶ 202. Thereafter,

Sgt. Ballou performed his own review of the documents. Id. ¶ 203. That review revealed the

ServiceNet Diary Card as well as “dozens of other documents related to Farak’s use of

narcotics at the Amherst Drug Lab.” Id. Sgt. Ballou notified John Verner (“AAG Verner”),

Chief of the Springfield AGO’s Criminal Bureau, Defendant Anne Kaczmarek (“AAG

Kaczmarek”), the AGO’s Enterprise and Major Crimes Unit Assistant Attorney General




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assigned to prosecute Farak, Det. Lt. Irwn and Trooper Thomas of the discovered documents.

Id. ¶ 204.

       On the morning of January 23, 2013, while emailing regarding the content of an

affidavit Sgt. Ballou was going to submit in support of an application for a warrant to search

a tote bag belonging to Farak, AAG Verner suggested to Sgt. Ballou that the documents seized

from Farak’s vehicle be disclosed as “personal papers.” Id. ¶ 205. Det. Lt. Penate is not

alleged to have participated in the email exchange. Id. The affidavit subsequently submitted

by Sgt. Ballou in support of the application for a warrant to search Farak’s tote bag made no

reference at all to the seized paperwork. Id. ¶ 206. Also on January 23, 2013, Trooper

Thomas filed a return documenting the evidence that was seized from the search of Farak’s

vehicle. Id. ¶ 208. In the return, he referred to the approximately 300 pages of documents

seized as “assorted lab paperwork.” Id. He made the same reference in his police report

submitted on January 23, 2013. Id. ¶ 211. Det. Lt. Irwin is not alleged to have had any

involvement in the decision to refer to the paperwork as such. Id. ¶¶ 208-211.

       On January 23, 2013, the day after Farak was arraigned in Belchertown District Court,

Sgt. Ballou sent an email to AAG Kaczmarek, Det. Lt. Irwin and AAG Verner informing them

that he had spoken to an assistant district attorney from Hampden County who advised him

of a case in which it appeared Farak had tampered with some oxycodone pills. Id. ¶ 213. Sgt.

Ballou met with the ADA who also advised him of a colleague who had a previous cocaine

case in which Farak was the chemist testing the drug sample that turned out to be light by

four grams. Id. ¶ 214. Sgt. Ballou notified AAG Kaczmarek via email that the analysis

performed by Farak in the cocaine matter occurred in 2005. Id. ¶ 215. In response to the




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information , AAG Kaczmarek wrote “Please don’t let this get more complicated than we

thought.” Id. ¶ 216.

       On February 14, 2013, Sgt. Ballou emailed AAG Kaczmarek and attached several

documents seized from Farak’s vehicle on January 19, 2013, which he characterized as

“Farak admissions” of drug use. Id. ¶ 220. The documents included the ServiceNet Diary

Cards indicating that Farak had used drugs on at least two of the days she tested the samples

delivered for testing related to Penate’s criminal case. Id. ¶ 221. AAG Verner and Det. Lt.

Irwin were cc’d on the email. Id. ¶ 220.

       On March 27, 2013, AAG Verner notified each of the Commonwealth’s eleven District

Attorney Offices that the AGO was investigating Farak and provided each DA with a discovery

packet of potentially exculpatory evidence resulting from the investigation. Id. ¶ 232. The

documents discovered by Sgt. Ballou and characterized as “Farak admissions” were not

included in the documents produced. Id. ¶ 233. That same day, AAG Kaczmarek submitted

a “Prosecution Memo” to AAG Verner and two other supervisors advising them that the

“Farak Admissions” documents had not been submitted to the grand jury. Id. ¶ 235. Penate

does not allege that Defendant Lt. Irwin had knowledge of the “Prosecution Memo” or its

content. Id. ¶¶ 232-239. AAG Verner later reminded AAG Kaczmarek that those documents

had not been turned over to any of the District Attorneys. Id. ¶ 236. Thereafter, AAG

Kaczmarek decided that the “Farak admissions” constituting mental health records would

not be disclosed as she viewed them to be “privileged.” Id. ¶¶ 238-239. The ServiceNet Diary

Cards were included in the “Farak admissions” that were withheld by AAG Kaczmarek. Id.

Penate does not allege that Defendant Lt. Irwin played any role in AAG Kaczmarek’s decision

to withhold the production of the mental health records. Id. ¶¶ 232-239.


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       On May 14, 2013, Penate moved to compel the production of discovery related to

Farak’s arrest and prosecution. Id. ¶ 240. After having received no discovery in response to

the motion, Penate filed a motion to dismiss his criminal charges “based upon Farak’s

egregious misconduct and the government’s non-compliance with its obligation to turn over

exculpatory evidence.” Id. ¶ 242. The Court issued an order on July 23, 2013, stating that it

would hold an evidentiary hearing on the motion to dismiss to determine, amongst other

things, whether the controlled substances relative to Penate’s case were mishandled by the

Amherst Drug Lab. Id. ¶ 243.

       On August 22, 2013, Penate subpoenaed AAG Kaczmarek and Sgt. Ballou to testify at

the motion hearing scheduled by the Court. Id. ¶ 248. Det. Lt. Irwin was not subpoenaed to

appear. Id. The subpoenas directed AAG Kaczmarek and Sgt. Ballou to bring to court any

“inter and intraoffice correspondence pertaining to the scope of evidence tampering and/or

deficiencies at the Amherst Drug Lab from January 18, 2013 to the present date.” Id. ¶ 249.

The responsibility of responding to Penate’s subpoenas to AAG Kaczmarek and Sgt. Ballou

was delegated to Defendant Kris Foster (“AAG Foster”), an Assistant Attorney General with

the AGO. Id. ¶ 253.

       After Penate served his subpoenas on AAG Kaczmarek and Sgt. Ballou, another Court

consolidated fourteen unrelated post-conviction cases and scheduled them for an

evidentiary hearing focused on the timing and scope of Farak’s alleged misconduct. Id. ¶

247. Sgt. Ballou received a subpoena duces tecum on August 30, 2013 in regard to that case

requiring him to produce evidence pertaining to the investigation of Farak. Id. ¶ 263. Det.

Lt. Irwin was not subpoenaed. See Id. AAG Kaczmarek contacted AAG Foster’s supervisor,

Defendant Randal Ravitz (“AAG Ravitz”), Chief of the AGO’s Appeals Division and AAG Verner


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notifying them of Sgt. Ballou’s subpoena. Id. ¶¶ 4, 252 and 266. AAG Verner scheduled a

meeting later that afternoon to discuss the subpoena. Id. ¶ 267. Those required to attend

the meeting were AAG Verner, Det. Lt. Irwin, AAG Foster and AAG Ravitz. Id. ¶ 267.

       The morning after the meeting, AAG Ravitz sent an email to his Deputy Chief, Suzanne

Reardon (“AAG Reardon”), AAG Foster, AAG Kaczmarek, AAG Verner, and Dean Mazzone

(“Mazzone”), the Supervisor of the AGO’s Enterprise and Major Crme Unit. Id. ¶¶ 252 and

270. The email suggested that “a rational for moving to quash, or limit the scope of [Sgt.

Ballou’s] subpoena” existed. Id. ¶ 271. This led to a second meeting to discuss the subpoena.

Id. ¶ 272.

       During the meetings, AAG Kaczmarek revealed that she and Sgt. Ballou were in

possession of the “Farak admissions” that had not been disclosed. Id. ¶ 273. AAG Kaczmarek

explained that the non-disclosure was due to the fact that the undisclosed records contained

information regarding Farak’s medical treatment. Id. ¶ 274. On September 6, 2013, AAG

Foster filed a motion to quash Sgt. Ballou’s subpoena or, in the alternative, issue a protective

order for any documents deemed to be medical in nature. Id. ¶ 275-276. Other than his

attendance at the meetings resulting in the filing the motion to quash the subpoena as it

related to Farak’s medical records, Det. Lt. Irwin is not alleged to have participated in the

decision to file the motion. Id. ¶¶ 247-277.

       The evidentiary hearing on the unrelated consolidated post-conviction cases was

held on September 9, 2013. Id. ¶ 286-287. In regard to AAG Foster’s motion for a protective

order for the “Farak admissions” she deemed to be privileged, the Court ordered her to

produce the undisclosed records to the Court for an in camera review. Id. ¶ 289. AAG

Kaczmarek met with Sgt. Ballou in order to review his Farak investigation file and produce


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any documents therein that should be produced for the Court’s in camera review. Id. ¶ 302-

303. Det. Lt. Irwin is not alleged to have participated in this meeting. Id.

       At this meeting, AAG Kaczmarek noticed that no hard copies of the “Farak

admissions,” that had been seized from Farak’s vehicle were included in the file. Id. ¶ 303.

She then advised AAG Foster that there were no documents in Sgt. Ballou’s file responsive to

the Court’s order for an in camera review. Id. ¶ 304. This resulted in AAG Foster notifying

the Court that a review of Sgt. Ballou’s investigation file revealed that everything in it had

already been produced. Id. ¶ 305. Penate makes no allegation that Det. Lt. Irwin participated

in AAG Kaczmarek and AAG Foster’s alleged decision to report that all documents had been

produced. See Id. ¶¶ 286-308.

       Subsequent to AAG Foster’s report to the Court that all documents had been

produced, Penate made continued efforts to inspect all of the records seized from Farak’s

vehicle.    See Id. ¶¶ 309-340.      Ultimately, the Court decided that based upon the

representations made by the AGO, Penate was not entitled to the discovery he sought. Id. ¶

340. On December 13, 2013, Penate was convicted of a single count of distributing a class a

substance. Id. ¶ 376.

       On October 30, 2014, Penate’s criminal attorney obtained the “Farak adissions” in an

unrelated Hampden County criminal case. Id. ¶ 383. Penate’s attorney notified the AGO of

the existence of these previously undisclosed documents. Id. ¶ 384. Based upon the AGO’s

failure to provide him with the “Farak admissions” prior to his conviction, Penate, through

counsel, filed a motion for a new trial. Id. ¶ 386. After a six-day evidentiary hearing, the

Court dismissed Plaintiff’s conviction finding that AAG Kaczmarek and AAG Foster

deliberately withheld exculpatory evidence from Penate. Id. ¶ 396.


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III.   APPLICABLE STANDARD

       A motion to dismiss is to be allowed when a Plaintiff can prove no set of facts in

support of his or her claim that would entitle him or her to relief. Conley v. Gibson, 355 U.S.

41, 45-46 (1957); Figueroa v. Rivera, 147 F.3d 77, 80 (1st Cir. 1998). When considering a

motion to dismiss, the Court is obliged to accept the plaintiff's well-pleaded facts as they

appear, granting every reasonable inference in the plaintiff's favor. Cooperman v. Individual,

Inc., 171 F.3d 43, 46 (1st Cir. 1999). This indulgence, however, does not require the Court to

credit bald assertions, unsubstantiated conclusions, or outright vituperation. Correa-

Martinez v. Arrillaya-Belendez, 903 F.2d 49, 52 (1st Cir. 1990). Notwithstanding the lenient

modern “notice pleading” regime, a plaintiff is “required to set forth factual allegations,

either direct or inferential, respecting each material element necessary to sustain recovery

under some actionable legal theory.” Romero-Barcelo v. Hernandez-Agosto, 75 F.3d 23, 28 n.

2 (1st Cir. 1996).

IV.    ARGUMENT

       1.      Penates Brady Count Fail to State a Valid Claim Against Det. Lt. Irwin
               Under Fed. R. Civ. P. 8(a) and as a Matter of Law.

       A complaint must contain “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a); see Cardigan Mountain Sch. v. N.H. Ins. Co.

787 F.3d 82, 84 (1st Cir. 2015). Although a complaint need not lay out “detailed factual

allegations,” it must include “more than an unadorned, the-defendant-unlawfully-harmed-

me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007)). Instead, the plaintiff must plead “factual allegations … enough to

raise a right to relief above the speculative level … on the assumption that all the allegations

in the complaint are true.” Twombly, 550 U. S. at 555. When a complaint pleads only “labels

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and conclusions” or a “formulaic recitation of the elements of a cause of action” with “no

further factual enhancement,” it is insufficient and should be dismissed. Id. at 555-57. In

evaluating the sufficiency of a complaint, the court first “must separate the complaint’s

factual allegations … from its conclusory legal allegations (which need not be credited).” A.G.

ex rel. Maddox v. Elsevier, Inc., 732 F.3d 77, 80 (1st Cir. 2013) (quoting Morales-Cruz v. Univ.

of P.R., 676 F.3d 220, 224 (1st Cir. 2012)). The court must then “determine whether the

remaining factual content allows a ‘reasonable inference that the defendant is liable for the

misconduct alleged.”’ Id. (quoting Morales-Cruz, 676 F.3d at 220);see also Haley v. City of

Boston, 657 F.3d 39, 46 (1st Cir. 2011).

       In this vein, this Circuit has consistently ruled that “vague and conclusory” allegations

are insufficient to plead a viable claim for relief. See, e.g., SEC v. Tambone, 597 F.3d 436, 442

(1st Cir. 2010) (“If the factual allegations in the complaint are too meager, vague, or

conclusory to remove the possibility of relief from the realm of mere conjecture, the

complaint is open to dismissal.”); McElroy v. City of Lowell, 741 F. Supp. 2d 349, 352 (D. Mass.

2010) (dismissal of § 1983 action because the complaint made general and conclusory

statements that did not imply an unlawful act); Pease v. Burns, 719 F. Supp. 2d 143, 149 (D.

Mass. 2010) (dismissal of plaintiffs’ § 1983 complaint alleging violation of constitutional

rights, including Fourth Amendment, that stated “all defendants” were involved in the acts

without more specificity). As can be gleaned below, Penate’s Complaint falls woefully short

of these fundamental pleading requirements with regard to the alleged constitutional claim

against Det. Lt. Irwin.

       A police officer can be liable under the Fourteenth Amendment’s Due Process Clause,

pursuant to § 1983 for withholding exculpatory evidence. See Brady v. Dill, 187 F.3d 104,


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114 (1st Cir.1999). However, while evidence that a police officer possessed exculpatory

evidence and inadvertently or even negligently failed to produce it will support a Brady

challenge to a criminal conviction, it will not sustain a valid § 1983 wrongful conviction claim.

The Supreme Court, addressing the question of “when tortious conduct by state officials rises

to the level of a constitutional tort“ for purposes of an alleged due process violation, has held

that “the Due Process Clause is simply not implicated by a negligent act of an official causing

unintended loss of or injury to life, liberty, or property.” Daniels v. Williams, 474 U.S. 327,

328, 106 S.Ct. 662, 665 (1986). “[T]he protections of the Due Process Clause, whether

substantive or procedural are just not triggered by lack of due care.” Davidson v. Cannon,

474 U.S. 344, 344, 106 S.Ct. 668, 669 (1986). In order to sustain his § 1983 wrongful

conviction claim against Det. Lt. Irwin based on a failure to disclose exculpatory evidence,

Penate must show that the exculpatory evidence was intentionally withheld and that the

intentional withholding was “in bad faith or with either the intent to violate Plaintiff’s

constitutional rights or with deliberate indifference to those rights.” Reid v. Simmons, 163

F.Supp.2d 81, 90 (D.N.H. 2001). aff’d, 47 Fed. Appx. 5 (1st Cir.2002) (per curiam), cert.

denied, 540 U.S. 894, 124 S.Ct. 237 (2003).

       Therefore, conclusive evidence that a Brady violation occurred is only one necessary

element of a § 1983 action against the violator. On this point, this Court has recognized:

       Brady and its progeny do not hold that the failure to disclose exculpatory
       evidence qua failure to disclose exculpatory evidence is, in and of itself, a
       violation of one’s constitutional rights. Brady, and its most notable progenies,
       Giglio v. U.S., 405 U.S. 150 (1972) and U.S. v. Agurs, 427 U.S. 97 (1976) hold[],
       at most, that the failure of the prosecutor to disclose exculpatory evidence to
       the defense at trial amounts to a denial of a fair trial in violation of the due
       process clause.
       …

       Brady and its progeny, bottomed on a defendant's due process right to a fair
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        trial, requires the prosecutor to disclose exculpatory evidence to the defense.
        It does not require investigators to disclose exculpatory evidence to the
        defense or a defendant. At best, it requires investigators to disclose—at some
        point—exculpatory evidence to the prosecutor.
        …

        A Brady violation that resulted in overturning of § 1983 plaintiff's conviction
        is a necessary, but not a sufficient, condition for § 1983 liability on the part of
        the police. It is a necessary condition because the Brady violation establishes
        the requisite threshold of constitutional injury (a conviction resulting in loss
        of liberty) below which no § 1983 action can lie. It is not a sufficient condition,
        however, because the Brady duty is a no fault duty and the concept of
        constitutional deprivation articulated in both Daniels [474 U.S. 327, 106 S.Ct.
        662 (1986) ] and Youngblood [488 U.S. 51, 109 S.Ct. 333 (1988) ] requires that
        the officer had intentionally withheld the evidence for the purpose of depriving
        the plaintiff of the use of that evidence during his criminal trial. This is what is
        meant by “bad faith.”2

        Burke v. Town of Walpole, 2004 WL 507795, *25-26 (D. Mass.2004) (quoting Jean v.

Collins, 221 F.3d 656, 663 (4th cir.2000), cert. denied, 531 U.S. 1076, 121 S.Ct. 771, 148

L.Ed.2d 671 (2001)), (emphasis added).

        Granting every reasonable inference in Penate’s favor, the facts as alleged fail to

establish any intentional conduct by Det. Lt. Irwin sufficient to state the causal connection

necessary for Penate’s constitutional claim. The documents seized by Det. Lt. Irwin, Sgt.

Ballou and Trooper Taylor were disclosed and produced to the AGO immediately after being

discovered. Complaint ¶ 202. Just days later, Sgt. Ballou reviewed the seized evidence and

discovered “dozens” of documents “related to Farak’s treatment for drug addiction.” He

immediately brought these documents to the attention to both AAG Verner and AGG


2 Although circuits differ as to what degree of culpability is necessary on the part of the officer withholding
exculpatory evidence in order to establish § 1983 liability, either actual bad faith (see Jean v. Collins, 221 F.3d
656, 663 (4th Cir.2000); Villasana v. Wilhoit, 368 F.3d 976, 980 (8th Cir.2004); Clemmons v. Armontrout, 477
F.3d 962, 965-966 (8th Cir.2007)); or deliberate indifference to or reckless disregard for an accused's rights
(see Tennison v. City and County of San Francisco, ---F.3d ---, 2009 WL 1758711, *9 (9th Cir.2009); Steidl v.
Fermon, 494 F.3d 623, 631 (7th Cir.2007)), there is uniformity that the withholding must be knowing and
cannot be supported by a showing of mere inadvertence or negligence. Daniels, 474 U.S. at 334; Porter v.
White, 483 F.3d 1294, 1308 (11th Cir.2007), cert. denied, 128 S.Ct. 1259 (2008).

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Kaczmarek. Id. ¶¶ 203-204.

       The potential exculpatory nature of these documents did not become apparent until

February 14, 2013, when Sgt. Ballou provided them to AGG Kaczmarek. Id. ¶¶ 220-221.

Other than being “cc’ed” in the email entitled “Farak admissions,” Penate alleges nothing to

suggest that Det. Lt. Irwin ever reviewed or had specific knowledge of the content of the

“admissions” or their potential impact on Pente’s criminal case. Id. ¶¶ 220-224.

       After disclosing the “Farak admissions” to AAG Kaczmarek, the responsibility of

notifying the Hampden County DA’s office of its potentially exculpatory nature fell to the

AGO. To that end, on March 27, 2013, AAG Verner produced some of the documents brought

to the attention of AAG Kaczmarek as admissions to “each of the Commonwealth’s eleven

District Attorneys” of the Id. ¶ 232. Penate alleges that the exculpatory evidence pertinent

to his criminal case was not included in this disclosure. He, however, fails to allege any facts

that would remotely infer the Det. Lt. Irwin was involved in the decision to withhold those

documents at that time or that he was even aware of the documents were being withheld. Id.

¶¶ 232-239. In fact, Penate specifically alleges that “[AAG] Kaczmarek decided the mental

health worksheet should not be turned over to the District Attorneys or any defendants

seeking relief based on Farak’s misconduct.” Id. ¶ 238.

       By all indications, Det. Lt. Irwin did not learn of AAG Kaczmarek’s alleged failure to

disclose the “Farak admission” until August 22, 2013 when he was required to attend a

meeting with AAG Verner, AAG Foster, AAG Ravitz and AAG Kaczmarek to discuss a subpoena

that had been served on Sgt. Ballou some five months later. Id. ¶ 267. As it appears from the

facts alleged by Penate, the discussion at this meeting centered around limiting the scope of

Sgt. Ballou’s subpoena because they constituted privileged medical treatment


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documentation. Id. ¶¶ 266-274. While Penate alleges that “[AAG] Kaczmarek falsely

claimed these documents were irrelevant to ‘Farak defendants’ … and shouldn’t be produced

given    the    fact    that   several     contained     information     concerning      Farak’s

health/medical/psychological treatment,” he alleges nothing that even remotely suggests

that Det. Lt. Irwin knew the statement was false. Id.

        A police officer has no duty to disclose exculpatory evidence “where [he] has reason

to believe that the prosecutor is aware of that evidence.” Kelly v. Curtis, 21 F.3d 1544, 1552

1994) (police officer had no duty to disclose report from the state crime lab where the lab

generally sent a copy to the District Attorney); Porter v. White, 483 F.3d 1294, 1310 (11th Cir.

2007) (to establish the “affirmative causal connection” between Det. Lt. Irwin and the alleged

constitutional violation in this regard, Penate would have to show both that Dt. Lt. Irwin

withheld exculpatory evidence from the prosecution and that the prosecution did not obtain

the evidence from anyone else); McMillian v. Johnson, 88 F.3d 1554, 1568 (11th Cir. 1996).

        The exculpatory evidence in question was turned over to the AGO who then made the

ultimate decision to withhold the evidence. Penate does not allege any specific facts that

would provide an inference of the “affirmative link” between Det. Lt. Irwin’s actions and the

conduct of the AGO resulting in the non-disclosure required to state his claim. In sum,

Plaintiff has simply not pled sufficient detail to indicate that Det. Lt. Irwin took any specific

action that violated his constitutional rights and, therefore, the Complaint should be

dismissed for its obvious pleading deficiencies under Rule 8(a). See Iqbal, 556 U.S. at 682-

84.




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       2.      Det. Lt. Irwin is Entitled to Qualified Immunity
       Even if the allegations against Det. Lt. Irwin with regard to the alleged constitutional

violations did not fail as a matter of law, Det. Lt. Irwin is entitled to qualified immunity as to

those claims. Qualified immunity shields government officials who perform discretionary

functions from civil liability so long as their conduct does not violate any “clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow

v. Fitzgerald,457 U.S. 800, 818 (1982). In conducting the inquiry, the Court must ask whether

the right asserted by the plaintiff is recognized by the Constitution at the time of the alleged

constitutional injury. Savard v. Rhode Isl., 338 F.3d 23, 28 (1st Cir. 2003) (en banc), cert.

denied540 U.S. 1109(2004). The qualified immunity defense should prevail unless the

unlawfulness of the challenged conduct was “apparent” when undertaken. Anderson v.

Creighton, 483 U.S. 635, 640 (1987).

       Here, the right asserted by Penate is the right to be provided with exculpatory

evidence by Det. Lt. Irwin. Penate presses this right against Det. Lt. Irwin despite that all the

allegations contained in the complaint demonstrates that the evidence was produced to the

AGO who then allegedly made the decision to withhold it from the Hampden County DA. Det.

Lt. Irwin submits that the law has not required action by an investigating officer in such

circumstances, and no reasonable police officer would have understood otherwise. See

Brady, supra. As such, Det. Lt. Irwin is entitled to qualified immunity on Penate’s Brady claim.

       3.      Det. Lt. Actions as Pled by Penate Fails to State a Claim for Intentional
               Infliction of Emotional Distress.

       Penate’s claim of intentional infliction of emotional distress against Det. Lt. Irwin fails

due to the failure to allege the requisite elements to state a claim under Massachusetts law.

Penate has failed to state non-conclusory allegations (1) that Penate intended to inflict the

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distress or knew that emotional distress would likely result from his conduct; (2) that the

conduct was ‘extreme and outrageous’, ‘beyond all possible bounds of decency’ and ‘utterly

intolerable in a civilized community; (3) that the defendant’ actions caused the distress; and

(4) that the distress was ‘severe’ and of a nature that ‘no reasonable man could be expected

to endure it.’ Edsall v. Assumption College, 367 F.Supp. at 80, quoting Agis v. Howard Johnson

Co., 371 Mass. 140, 144-145 (1976) and cases cited.

       Liability for intentional infliction of emotional distress “cannot be predicated upon

mere insults, indignities, threats, annoyances, petty oppressions, or other trivialities, nor is

it even enough that the defendant has acted with an intent which is tortious or even criminal,

... rather [l]iability has been found only where the conduct has been so outrageous in

character and so extreme in degree, as to go beyond all possible bounds of decency, and to

be regarded as atrocious, and utterly intolerable in a civilized community.” Foley v. Polaroid

Corp, 400 Mass. 82, 99 (1987) (holding plaintiff acquitted of sexual assault had no cause of

action where co-workers allegedly continually harassed, alternatively ignored, then taunted

him); see also, Casamasina v. Worcester Telegram and Gazette, Inc., 2 Mass. App. Ct. 801, 802

(1974) (where newspaper reported that Plaintiff “had a long history of involvement with

drugs”, it did not engage in extreme or outrageous conduct).

       As fully set forth above, the Complaint fails to allege facts sufficient to establish a

single element of this claim. To the extent police are merely carrying out their obligations

as law enforcement officers, their conduct as a matter of law is not deemed extreme and

outrageous. Barbosa v. Conlon, 962 F. Supp. 2d 316, 334 (D. Mass. 2013). See Cruz-Erazo v.

Rivera-Montanez 212 F.3d 617,624 (1st Cir. 2000) (officer’s verbal taunting of plaintiff with

threats of assault and prosecution and such actions did not shock the conscious); Pittsley v.


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Warish 927 F.2d 3, 7 (1st Cir. 1991) (recovery denied where officers threatened to kill

plaintiff and told her children they would never see their father again if they caught him).

       Det. Lt. Irwin does not dispute that a wrongful conviction would cause emotional

distress.    However, Det. Lt. Irwin’s alleged conduct was not extreme or outrageous.

Accordingly, Penate has failed to sufficiently allege facts supportive of his claim for

intentional infliction of emotional distress. As such, this claim against Det. Lt. Irwin must be

dismissed.

V.     CONCLUSION

       For the reasons stated herein, Det. Lt. Irwin respectfully requests that Penate’s claims

against him be dismissed.

                                                   Respectfully Submitted

                                                   For Defendant Irwin,
                                                   By his attorney,

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                                 CERTIFICATE OF SERVICE
       I hereby certify that this document was filed through the ECF system and will
therefore be sent electronically to the registered participants as identified on the Notice of
Electronic Filing and paper copies will be sent this day to those participants indicated as
non-registered participants.




Dated: December 18, 2017                     /s/ Sheila E. McCravy
                                            Sheila E. McCravy




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